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                                   1                                      UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                   4                                                              Case No. 3:21-cv-06118-JD
                                                          Plaintiff(s),
                                   5
                                                                                                  APPLICATION FOR ADMISSION OF
                                                   v.                                             ATTORNEY PRO HAC VICE
                                   6
                                                                                                  (CIVIL LOCAL RULE 11-3)
                                   7
                                                          Defendant(s).
                                   8
                                   9
                                  10           I, Oscar Shine                    , an active member in good standing of the bar of

                                  11    New York                                 , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Plaintiffs Daniel Valenti and Henry Rodriguez in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Elizabeth Kramer                           , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-                                  293129

                                  16
                                       1290 Avenue of the Americas, New York, NY 10104            44 Tehama St. San Francisco, CA 94105
                                  17    MY ADDRESS OF RECORD                                       LOCAL CO-COUNSEL S ADDRESS OF RECORD

                                  18   (212) 390-9034                                             (415) 635-0631
                                        MY TELEPHONE # OF RECORD                                   LOCAL CO-COUNSEL S TELEPHONE # OF RECORD
                                  19
                                       oshine@selendygay.com                                      elizabeth@eko.law
                                  20    MY EMAIL ADDRESS OF RECORD                                 LOCAL CO-COUNSEL S EMAIL ADDRESS OF RECORD

                                  21
                                  22           I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 5361498                         .
                                  24           A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                   0
                                               I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: August 10, 2023                                          /s/ Oscar Shine
                                                                                                     APPLICANT
                                   5
                                   6
                                   7
                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10
                                  11            IT IS HEREBY ORDERED THAT the application of Oscar Shine                            is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                       Updated 11/2021                                   2
